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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 CHERYL COX,
                                              Plaintiff,
                                                                 NOTICE OF MOTION FOR
                       - against -
                                                                  SUMMARY JUDGMENT
 CITY OF ROCHESTER, DAKOTA
                                                              Case no: 6:22-cv-6207 (FPG)(MJP)
 VANBREDERODE
                                           Defendants.



       Defendants City of Rochester and Dakota Vanbrederode move this Court pursuant to FED. R.

CIV. P. 56(a) for summary judgment on the entirety of Plaintiff’s Amended Complaint.

       In support of this motion, the Court is referred to the Declaration of Peachie L. Jones, Esq.,

with exhibits attached, a Memorandum of Law, and a Statement of Undisputed Facts, all submitted

herewith and made part of this motion. Defendants reserve the right to file a reply memorandum of

law within fourteen days of Plaintiff’s filing any opposition to this motion.

Date: July 25, 2024                           PATRICK BEATH
                                              CORPORATION COUNSEL

                                              By:
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To the following via ECF:

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